19-10307-mg     Doc 23     Filed 06/26/19    Entered 06/26/19 10:40:18      Main Document
                                            Pg 1 of 1




                                                   June 26, 2019

By Electronic Case Filing
Clerk of the Court
United States Bankruptcy Court
Southern District of New York
One Bowling Green
New York, New York 10004

                     Re:     Claudine Attzs
                             Chapter 7
                             Case No. 19-10307 (MG)
                             Our File No. 10001-418
Dear Sir/Madam:

       Please allow this letter to withdraw the statements adjourning the §341(a) First

Meeting of Creditors, which were inadvertently filed on May 8, 2019 and June 4, 2019.

       I apologize for any inconvenience this may have caused.

      Should you have any questions, please contact the undersigned.


                                                   Very truly yours,

                                                   Andres Nunez

                                                   Andres Nunez




AN
cc: Kenneth P. Silverman, Esq., the Chapter 7 Trustee (by e-mail)




                                                                                        AN/2308328/418
